Case 1:25-cv-10770-MJJ   Document 67-3   Filed 05/20/25   Page 1 of 14




                 Exhibit C
                 Incident Report
                Erica Walsh Arrest
~Case 1:25-cv-10770-MJJ                                    Document 67-3                   Filed 05/20/25              Page 2 of 14



                                                                      On-View Arrest
                                                          Massachusetts State Police
                                                                                                                           450 WORCESTER RD
                                                                                                                        FRAMINGHAM, MA 01702

   CASE # 2025-HTrp-5260                                                                                                        (508) 820-2250

   Invest Officer:     Tpr Ryan Welsh ID# MSP5015                                          Court: Dedham District Court
                       Ryan.P.Welsh@pol.state.ma.us

   Agency:             HCAT

   Activity Datemme       05/1912025 1338       Incident Class: Field Interview or Observation

   Location: 650 High St, DEDHAM, MA 02026


    Last:                 WALSH
   First:                 ERICA
   Middle:
   DOB:                                               Race:
   Age:                                               Sex:
   SSN:                                               Height;
   license#:                                          Weight:
   lie. State:                                        Hair Color.
   SID:                                               Eye Color.
   PCF:                                               Marital Stat:
   Address:                                           Spouse:
   City/Town:                                         Father:
   State:                                             Mother:
   Zip Code:                                          Dependents:
   Phone#:                                            Birth Place:
   Occupation:




                                                      OBTN: TSl5202500043
                                                  Booked @ H-2 State Police Framingham
   Custody Status:                  Bail Set
                                                                      Injuries:                    No
   Booking Officer.                Tpr Ryan Welsh ID# MSPS01S
                                                                      Suicidal?                    No
   Courtesy Booking:                No
                                                                      Phone Used:                  Yes
   Courtesy Booking Station:       NIA
                                                                      Number Called:
   Photo Officer:                  Tpr Ryan Welsh ID# MSP5015
   Desk Officer.                   Tpr Scott Lucas ID# MSP4553        Call Permitted By:           Tpr Ryan Welsh ID# MSP5015

   Fingerprinted:                  Yes                                Detox Notified:              No

   Print Officer.                  Tpr Ryan Welsh JD#MSP5015          M/W:                         No

   Subject Video Taped:            Yes                                Medications:                None.

   PREA Screening & Education: Yes                                    ICE Detainer?:              No

   Miranda Warnings Given:         Yes                                Held on Detainer?:          No

   Language Rights:                Yes
   Translation By:                 NIA
   Primary Caretaker of Child?     No




  ~                   ~~fR,~ Approyed by: Sergeant
  Tpr Ryan \'Ive/shID# MSP5015
                                              Status· Aporoyed
                                                   Michael Hardman JD#msp3121                             Supervisor


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                    Case 1:25-cv-10770-MJJ             Document 67-3          Filed 05/20/25         Page 3 of 14
Arrest Narrative:
                                                     292s-HJro-5260.




 ByT                                                     Commonwealth of Massachusetts
                                                               Probation Department
                                                         Court Activity Record Information


              5/20/2025     7:36: 10AM
                                                                                                                           Page 1 of 1
             Walsh, Erica

             Conversion, xx CONV




                                                                       CARI
               0510212024                  CA
                                           DKT#: 2411 CR0012348
                                           OT: 05102/2024 Tewksbury PD CRT: LOWELL DISTRICT (11)
                                           OFFENSE: THREATENING (THREAT) COMM CRIME. A&B
                                           DISPOSITION: PTCOR-A C 11112/24 DISM
                                           STATUS: CLOSED
              05/02/2024                   CA
                                          DKT#: 2411CR001234A
                                          OT: 05/02/2024 Tewksbury PD CRT: LOWELL DISTRICT (11)
                                          OFFENSE: THREATENING (THREAT) COMM CRIME • A&B
                                          DISPOSITION: PTCOR-A C 11/12124 D/SM
                                          STATUS: CLOSED




                                                                                                                           CARIRerord rpl
                                                                                                                                5120/2025


       Records Include: PCF = 5651032, Case Number= , Docket Report Group = ALL, Docket Code = ALL, Include Linked Charges = True,
          Include Linked Cases= True, Include Rapsheet = False, Include DV Linked Images= False, Include Sealed Records= False.
                   Case 1:25-cv-10770-MJJ                   Document 67-3              Filed 05/20/25           Page 4 of 14
   llrrestNarrative:

                                                                202s-HTro-526Q



   By Tpr Ryan P Welsh 10# MSP5015

               Body worn camera (BWC) and/ or cruiser mounted camera (CMC) video images were capture~ during
              this incident The Department of State Police policy recognizes that body worn camera a nd cruiser
              mounted cameras •      by virtue of their placement on a members• uniform •              •
                                                                                               and crwser,   d 0 no t c apture all
              visual and auditory observations made by a member on scene. This repo 1sa ~umm ary. of the events
                                   '                                                      •      rt •
              and not intended to capture every detail. Please refer to BWC/ CMC for further information. .
               On April 01 2025 the second trial of Commonwealth v. Karen Read began in Norfolk Superior Court.
              Judge Beverly  ' Cannone,
                                  '        the presiding judge in Commonwealth v. Kar~n. Rea d, imp    • Ie~en te d a "buffer
              zone" around the Norfolk Superior Courthouse. This "buffer zone" proh1b1tsdemonstrating arou~d the
              Norfolk Superior Courthouse during the trial and states in part, "no individual may demonstr_ate I~ any
              manner, including carrying signs or placards, within 200 feet of the courthouse complex during trial of
             this case ... "
              On May 19, 2025, at approximately 1338 hours, Trooper Ryan W~lsh #?015, Sergeant Michael
             Hardman #3121(Supervisor: Mass State Police Troop H Community Action Team). Trooper An~hony
             Nunziato #4576, Trooper Michael Clifford #4457 and Trooper Jeffrey Lang #4339 and was a~s,gne~ to
             courthouse security at Norfolk Superior Court in Dedham for the Commonwealth V. READ Tnal. While
             on post in front of the Registry of Deeds (649 High Street, Dedham), all Troopers observed a know~
             protestor/demonstrator, identified as WALSH, Erica                                                         walking
             by wearing a black sweatshirt with the words "Criminals Control Norfolk County" inside the Buffer Zone
             Additionally, WALSH was wearing a hat I          e "     "                     din for "Free Karen Read".
             WALSH has been addressed, warned an ,riminally char ed three separate time                     the past for
             wearing clothing items that directly involve e omm. V Rea na ,                      •    y viola e u ge
             Cannone's order. WALSH has also been informed that if she continues to vJolate the court order, she
            will be subject to arrest. The Massachusetts State Police has attempted to educate, warn, and enforce
            the Court Order without arresting WALSH to no avail. WALSH shows no regard for the Buffer Zone or
            the courtesy that the State Police has given her regarding her several court order violations. Troopers
            have even had discussions with known associates of WALSH that also are present during the day to try
            and curve WALSH's behavior. A good majority of the protesters at the Read Trial are cooperative and
            have good relations with the Troopers assigned to courthouse security. WALSH is an outlier that
            refuses to comply.
             WALSH purposely walked directly next to the day shift State Police Community Action Team's (CAT)
           cruisers at 649 High Street, Dedham and sat on the cement slab that separates the front lawn of the
           Registry of Deeds and the sidewalk, directly in front of Norfolk Superior Court. WALSH had a camera
           crew with her while she made the walk, clearly displaying that this was a planned protest encounter.
           WALSH approached this location with _theintent to picket in front of the courthouse and be placed under
           arrest b~ the Massachusetts_     State Police. WALSH purposely wore these items in the Buffer Zone and
           had the_intent_toobstruct or impede the administration of justice and with the intent to influence the
           J~dg~•.Jury,witnesses or court_officers.W~LSH sat on the slab with her camera crew of approximately
           6 individuals and a gentleman in a blue su,t (later found out to be her hired attorney at the time of
          arrest, Marco _Randazza),for approximately 5 minutes. WALSH's camera crew was videotapin her
          Norfolk Superior Court a~d all of our_Sta~ePolice Cruisers. While WALSH was sitting on the sl;b, '
          Sergeant Hardman was 1ncontact with Lisa Beatty who is the Assistant District Attorney for Norf lk
          County. Sergeant Hardman advised Lisa that this was a planned protest. Lisa stated the best coi                   f
          action !sto have a conversationand explain to WALSH That she needs to comply with the Court
          regarding the Buffer Zone, or she will be subject to arrest.
                                                                                                                   b5~    0
                                                                                                                       r er
           WALSH eventually got up and walked southbound on the sidewalk of High Street WALSH h
          attorney and her camera crew were met by Serg          tH d           d                   •        • er
          Hardmantold WALSH that she had been notifiede:~d w~~n~~~han I, Trooper Ryan Welsh. Sergeant
         inside the BufferZone multiple times Ser eant Hard                  at s~e cannot wear that sweatshirt
         summonsedfor this in the past. Serg~ant1,ardman a~:;d a~o expl~ined that she has been criminally
         take the sweatshirt off or be subject to arrest WALSH' tt ALSH if she wanted to talk to the Judge,
         questions at this time. Sergeant Hardman st~ted to wlL~~~~ey, Randazza stated she does not answer
         and pulls her arm away from Sergeant Hardman Se
        ~ALSH in handcuffs.WALSHwas escorted to the
        In the rear of the van. WALSH's belongin s were iv
                                                              ~i::~~       ou are under arrest". WALSH tensed up
                                                                        ~arg~_anstated to stop resisting and placed
                                                                        a e O ice transport van #2960 and placed
                                                                          nd
        State Police Framingham.WALSH was r~latively ~al~ d~r~a a2:2~_ather request and transported to
        transportshe began swearingat me, kicking the b k              ng the I~1tral arrest, however during the
        ~4,/                                                  ac seat, and crying. While at State Police
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                                                                                                                                          10 of 13
                     w/f1/
             5/19/2025 5:43:04 PM
     Framingham     WALSH         b k               -
     RiCase
        ht    1:25-cv-10770-MJJ
                  '                           Document
                             was 00 ed, fingerprinted,     67-3
                                                          and        Filed 05/20/25
                                                              photographed    WALSH was readPage
                                                                                               her 5 of 14
                                                                                                   Miranda
       gd s o:en entry i~to the booking room where she subsequently signed and understood what was
     rea to er. A_tthe time _ofthis "'."riling, WALSH is being held at State Police Framingham pending
     contact of Bail Clerk Enc Guzzi. During booking WALSH continued to have change in behavior. WALSH
     woul? cry, get frustrated, and then get angry. WALSH continued to have mood swings throughout the
     booking process.
      WALSH is being charged with the following out of Dedham District Court:
           1. TRESPASS CH. 266 SECTION 120
           1. COURT/JUDGE/JUROR, PICKETING CH. 268 SECTION 13A

       A history of WALSH at Commonwealth V Read:WALSH is a frequent protestor/ demonstrator that
      partakes in daily demonstrations at the edge of the Buffer Zone. WALSH believes that Karen READ
      was framed. WALSH was an attendee at the first READ trial, which took place between April 16, 2024,
      through July 01, 2024. WALSH continues to attend almost every hearing and trial date regarding Karen
      READ and Aidan KEARNEY (Turtleboy). KEARNEY was charged criminally for intimidating witnesses
      several times involving the READ case.

      WALSH usually congregates with other protesters at the edge of the Buffer zone on High Street in front
      of the Dedham Post Office. There are several signs posted around the Buffer Zone that state "Entering
      the Buffer Zone". There are two signs posted on light poles at eye level in the area of the Post Office.
      There are also "Entering the Buffer Zone" signs affixed on all of the main streets at the edges of the
      Buffer Zone. WALSH had to walk by these signs to approach the location she was encountered. As
      stated, WALSH is a frequent in the area and is aware of the court order regarding the Buffer Zone.
      Where WALSH was observed picketing, is a highly trafficked area of pedestrians, prosecutors, jurors,
      witnesses, court personnel and the victim's family. Potential jurors for the Superior Court exit from the
       Registry of Deeds and cross the street to the Superior Court. Witnesses from this case enter and exit
       through the front of Norfolk Superior Court front doors. Parties involved in the Read Trial will often stand
       at the entrance on breaks for fresh air and/or a cigarette. WALSH's sweatshirt had the potential to be
       seen from the Superior Court windows and front entrance.
        WALSH has pictures with Karen READ available on her social media (Facebook and lnstagram).
       WALSH approached the READ family as they exit the courthouse and embraced them with hugs.
       WALSH has even entered the courthouse with the READ family during the trial to sit with the
       family (05/06/2025). WALSH was identified and warned for violations of the court order on April 30,
        2025, at approximately 0916 hours regarding Buffer Zone violations by Trooper Nunziato #4576 and
       Trooper Freedman #4712. WALSH was observed walking through the Buffer Zone with a "Free Karen
        Read" sweatshirt. WALSH was warned and asked to cover up the sweatshirt until she exited the Buffer
        Zone. Approximately 20 minutes after being warned, WALSH then walked through the Buffer Zone
        again, wearing the same sweatshirt, partially covered and carrying a "Free Turtleboy" sign affixed to a
        wooden pole (25-178284). Again, on April 30th WALSH returned to the Buffer Zone wearing a "Free
        Turtleboy Shirt" for the Aidan KEARNEY Hearing, standing in front of the Norfolk Superior Court steps
        awaiting to enter the courthouse. The READ Trial was on a lunch break and returned while WALSH was
        waiting in line. WALSH was eventually criminally charged for the violations and for wearing the
        exact "Criminals Control Norfolk County" sweatshirt on 05/02/2025 in front of the Registry of
        Deeds (Case #2025-SERT-35/21 ).
         On May 12, 2025, at approximately 1100 hours, WALSH was again observed wearing the "Criminals
        Control Norfolk County" sweatshirt through the Buffer Zone (Case# 2025-112-251/6). Trooper Jonathan
        Freedman #4712 approached WALSH and addressed the sweatshirt. Trooper Freedman explained to
        WALSH that she had been spoken to previously for wearing the exact sweatshirt through the Buffer
        Zone in the past. WALSH became confrontational stating that it did not have Karen Read on it. WALSH
        then became very upset and offered herself up for arrest. Troopers did not place her into custody but
        rather told her she must leave the Buffer Zone and that she will be criminally summonsed for
        trespassing again for violating the court order.
          WALSH has stated multiple times that this sweatshirt does not involve the Karen Read case, but a
        different one. However, attached is a photo that was posted from Aiden Kearney (AKA TurtleBoy Twitter
         Handle @doctorturtleboy) on May 12, 2025 at 1147 hours directly next to the Buffer Zone. This
         photograph shows that this sweatshirt is directly related to the Buffer Zone and the Com. V. Read Trial.
         Norfolk County is directly involved as the Commonwealth in the Com V. Read Trial.
          WALSH was identified on May 16th, 2025 by Sergeant Hardman (Case #25-203188) at approximately
         1050 hours wearing a black t-shirt that stated, "Mass State Police, Biggest Gang In Town".
          WALSH was identified by myself earlier today, May 19, 2025 at approximately 1114 hours (Case
         #25-207753) wearing the same sweatshirt WALSH has been warned about and criminally summonsed
         three times prior to this arrest and has been mentioned in this report in paragraph 3. WALSH walked
         into the Buffer Zone and waited to see our reaction. Once WALSH got a reaction from us, she hastily
         w/f ✓ of the Buffer Zone, appearing to play a game of cat and mouse. While WALSH has been

5/19/2025 5:43:04 PM                                                                                                  Page 10 of 13
            Case 1:25-cv-10770-MJJ              Document 67-3          Filed 05/20/25        Page 6 of 14
        Warned more ~han multiple times and criminally charged, WALSH has always been welcomed to walk,
        stand and be m the area if she is adhering to the Buffer Zone despite her attitude with the State Police
        and her lack of abiding by Judge Cannone's Order. WALSH has always been welcomed to protest her
        beliefs as long as she is in compliance with the court order despite her several pending charges.
         Attached to this report are pictures of the Buffer Zone signs, The Court Order, The amendment to the
        Court Order, the picture posted by Turtleboy of the "Criminals Control Norfolk County" sweatshirt that
        WALSH is wearing next to the Buffer Zone sign, and the picture of the "Criminals Control Norfolk
         County" sweatshirt that WALSH wore today.                       ~                    ~

                                                                    -Z ~~ ~c                        jFSo/~
Tpr Ryan Welsh ID# MSP5015                                            Tpr Ryan   Welsh10#
                                                                                      MSP5015




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                         COMMONWEALTH OF MASSACHUSETTS
NORFOLK, ss.                                                           SUPERIOR COURT
                                                                       CRIMINAL ACTION
                                                                       22-00117

                                       COMMONWEALTH



                                           KAREN READ


                  SUPPLEMENTAL ORDER REGARDING THE BUFFER ZONE

        The court is in receipt of the decision of the United States Court of Appeals for the First
Circuit in Grant v. Trial Ct. ofCommonwealth of Massachusetts, No. 25~1380 (1st Cir. May 9,
2025) (hereinafter "The Decision"). To simplify any potential First Amendment issues related to
the Buffer Zone restrictions implemented by prior orders, this court, guided by the Court of
Appeal's suggestion set out on page 12 of The Decision, issues the following supplemental order
regarding the Buffer Zone:

        First, for all the reasons cited in support of prior orders and based upon the parameters of
        the dispute as narrowed and described in the Decision, all orders of this court remain in
        place insofar as they apply to Courthouse property.

        Second, prior orders remain in place as applied to pathways - including public sidewalks
        and roads - through which and at which times trial participants enter and exit the
        Courthouse.                                                 ·1



        Third, noisy protests, including those using amplified sound, honking horns or loud
        screaming and yelling that are intended to interfere with the administration of justice or
        are intended to influence any judge, juror, witness, or court officer in the discharge of bis
        or her duties are prohibited within the buffer zone.

       Fourth, the display of written or graphic materials that are intended to interfere with the
       administration of justice or are intended to influence any judge, juror, witness, or court
       officer in the discharge of their duties are prohibited Within the buffer zone.

       Fifth, any person whose activity has been restricted by an officer enforcing this order
       may request review by a judge of the Superior Court, which request shall be heard as
       expeditiously as possible.

           Quiet, offsite demonstrations on public property, in areas and at times that do not
interfere with trial participants' entrance into or exit from the Courthouse, and that do not
interfere with the orderly administration of justice, and that are not intended to influence any trial
Case 1:25-cv-10770-MJJ             Document 67-3          Filed 05/20/25        Page 8 of 14




parti~i~ants in the discharge of their duties are specifically outside the scope of the Buffer Zone
restncttons.


        SO ORDERED




Date: May 15, 2025
                                                     ~•"I••~"-
                                                       ~er1y1-:--'c"'inno~
                                                                      ---  04
                                                        Justice of the Supenor Court
       Case 1:25-cv-10770-MJJ             Document 67-3           Filed 05/20/25         Page 9 of 14

Pa    Page 1                                                                                        Instruction 8.220
      Revised March 2017                                                                                 TRESPASS



Ti
                                                    TRESPASS

C                                               G.L.c. 266, § 120

            The defendant is charged with trespass.
St
            In order to prove the defendant guilty of trespass, the Commonwealth

     must prove two things beyond a reasonable doubt:

            First: That, without right, the defendant entered or remained (in a

     dwelling house) (in a building) (on a boat) (on improved or enclosed land)
 1
     of another; and

            Second: That the defendant was forbidden to enter or to remain there

     by the person in lawful control of the premises, either directly or by means

     of a posted notice.

           Commonwealth v. Richardson, 313 Mass. 632, 637 (1943) (the two forbidden acts are phrased
           disjunctively); Commonwealth v. Einarson, 6 Mass. App. Ct. 835, 835 (1978) (municipal ordinance
           or regulation forbidding trespass after dark must be introduced in evidence).



           The first requirement is satisfied by proof that the defendant either

     entered on the premises without permission, or failed to leave after being

     requested to do so.

                  I A. If there was a posted notice. I To satisfy the second element, the
          Commonwealth is not required to prove that the defendant

          actually saw a notice forbidding trespassing.                       The
       Case 1:25-cv-10770-MJJ                  Document 67-3            Filed 05/20/25           Page 10 of 14
Pa
       Instruction 8.220                                                                                              Page 2
       TRESPASS                                                                                           Revised March 2017

Ti
                Commonwealth is only required to prove that there was a
c:
                reasonably distinct notice forbidding trespass, and that it was

                posted in a reasonably suitable place so that a reasonably

                careful trespasser would see it.

                           Fitzgerald v. Lewis, 164 Mass. 495, 500 (1895) (notice need not be signed or
                           indicate the basis of its authority).


                           I B. If there was no posted notice. I To satisfy the second element by
 ir
 a              proving that the owner "directly" forbade entry to the defendant,

 p              the law does not require a person having control of unpasted
  C
                premises to be on the premises at all times of the day or night to
  s
  n             personally warn off intruders. Such a person may also bar entry

  C             by securing the premises with secure fences or walls and with

  r             locked gates or doors, and this is considered to be "directly"
  (
                forbidding entry to the premises.

                           Commonwealth v. A Juvenile (No. 1), 6 Mass. App. Ct. 106, 108 (1978).




       NOTES:

                1.      "Another's" property. Evidence supporting an inference that the property did not belong
       lo the defendant is sufficient to establish that the property belonged to another. Commonwealth v. Averill, 12
       Mass. App. Ct. 260,263 (1981).

                2.        Without right. "A belief on the part of the person entering upon land not in his control that
http   the land is his" is still an entry without right. Fitzgerald v. Lewis, 164 Mass. 495, 501 (1895).

               3.       External deck, porch, steps. An external deck or porch, or steps leading to the front door,
       are properly regarded as part of a building for purposes of the trespass statute. Commonwealth v. Wolf, 34
        Case 1:25-cv-10770-MJJ                 Document 67-3             Filed 05/20/25          Page 11 of 14
Par1
          Page 3
                                                                                                               Instruction 8.220
          Revised March 2017
                                                                                                                    TRESPASS
Titl
         Mass. App. Ct. 949, 949 (1993 ).

                 4.      Holdover_tenants. A _trespass charge may not be brought against holdover tenants; instead
         the owner must resort to c1v1Iproceedings. G.L. c. 266 § 120. As to foreclosing a mortgagee's rights, see
         Attorney General v. Dime Savings Bank of New York, FSB, 413 Mass. 284, 287-91 (1992).
Se<
                  5.      Implied license. Under some circumstances, a person may be privileged to enter onto
         another's property to determine whether the person in control wishes to deal with him, and for passage off
         upon receiving a negative answer. See Commonwealth v. Hood, 389 Mass. 581, 589-590 (1983);
         Commonwealth v. Krasner, 360 Mass. 848, 848 (1971) (such implied license may extend to some parts of
         property but not others); Richardson, 313 Mass. at 639-40.

                6.       Not lesser Included offense of breaking and entering. Trespass is not a lesser included
        offense of breaking and entering. Commonwealth v. Vinnicombe, 28 Mass. App. Ct. 934, 935 (1990).

 Se               7.      Public property. General laws c. 266, § 120 may be applied to state or municipal property
        as well as to privately-owned property. Commonwealth v. Egleson, 355 Mass. 259, 262 (1969). The model
 im     instruction may be adapted for a complaint brought under G.l. c. 266, § 123 (trespass on certain public
        property).
 an               8.       Necessity defense. In determining whether a defendant has satisfied the foundational
         requirements to claim necessity (see Instruction 9.240), the requirement that a defendant must present
 pl      enough evidence to demonstrate at least a reasonable doubt that there were no effective legal alternatives
        available does not require a defendant "to rebut every alternative that is conceivable; rather, a defendant is
 cc      required to rebut alternatives that likely would have been considered by a reasonable person in a similar
        situation." Commonwealth v. Magadini, 4 74 Mass. 593, 601 (2016) (defendant's testimony that he had been
  Sl    denied entry to the local homeless shelter, that he was unable to rent an apartment despite repeated attempts,
        and that he had no place else to stay was sufficient for the issue to go to the jury; whether it is an effective
  Ill   legal alternative for a homeless person to seek shelter outside of his or her home town is a question of fact
        for the jury to decide).

  n              9.     Related statutes. See G.L. c. 266, §§ 121 (trespass with firearms), 121A (trespass with
        vehicle); 120A (owner of trespassing parked vehicle is prima facie the trespasser), 120D (disposal of
  l'    trespassing parked vehicle). See also G.L. c. 266, §§ 1208 (abutter's privilege), 120C (surveyor's privilege).


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     PartCase
          IV 1:25-cv-10770-MJJ  Document 67-3 Filed 05/20/25 Page 12 of 14
                        CRIMES, PUNISHMENTS AND PROCEEDINGS IN CRIMINAL
                                        CASES


     Title I                            CRIMES AND PUNISHMENTS


     Chapter 268                        CRIMES AGAINST PUBLIC JUSTICE


     Section 13A                        PICKETING COURT, JUDGE, JUROR, WITNESS OR COURT
                                        OFFICER




    Section 13A. Whoever, with the intent of interfering with, obstructing, or
    impeding the administration of justice, or with the intent of influencing
    any judge, juror, witness, or court officer, in the discharge of his duty,
    pickets or parades in or near a building housing a court of the
    commonwealth, or in or near a building or residence occupied or used by
    such judge, juror, witness, or court officer, shall be punished by a fine of
    not more than five thousand dollars or by imprisonment for not more than
    one year, or both.
    Nothing in this section shall interfere with or prevent the exercise by any
    court of the commonwealth of its power to punish for contempt.




https://maleglslature.gov/laws/generallaws/partlv/tltlel/chapter268/sectlonl3a            1/1
      Case 1:25-cv-10770-MJJ           Document 67-3         Filed 05/20/25       Page 13 of 14



                                  COMMONWEALTH OF MASSACHUSETTS
          NORFOLK, ss.                                                       SUPERIOR COURT
                                                                             CRIMINAL ACTION
                                                                             22-00117

                                              COMMONWEALTH



                                                 KARENREAD


                         SUPPLEMENTAL ORDER REGARDING THE BUFFER ZONE

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            and roads - through which and at which times trial participants enter and exit the
            Courthouse.

           Third, noisy protests, including those using amplified sound, honking horns or loud
          screaming and yelling that are intended to interfere with the administration of justice or
          are intended to influence any judge, juror, witness, or court officer in the discharge of his
          or her duties are prohibited within the buffer zone.

         Fourth, the display of written or graphic m~terials that are intended to interfere with the
         administration of justice or are intended to Influence any judge, juror, witness, or court
         officer in the discharge of their duties are prohibited within the buffer zone.

        Fifth, any person whose activity has been r~stricted by an officer enforcing this order
        may request review by a judge of the Supenor Court, which request shall be heard as
        expeditiously as possible.

           Quiet, offsite demonstrations 0 ~ pubJic ~roperty, in areas and at times that do not
interfere with trial participants' entrance mt_o0 ~ exit from the Courthouse, and that do not
interfere with the orderly administration of Ju stice, and th at are not intended to influence any trial
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parti~i~ants in the discharge of their duties are specifically outside the scope of the Buffer Zone
restncttons.


        SO ORDERED




Date: May 15, 2025                                   'lt•"          LLc~
                                                        ~e erly?"'Cannoe_
                                                        Justice of the Supenor Court
                                                                                         O½
